
8 So.3d 570 (2009)
STATE of Louisiana
v.
Henri BROADWAY.
No. 2008-KP-1747.
Supreme Court of Louisiana.
May 15, 2009.
Granted in part; denied in part. The district court's judgment denying relator post-conviction relief is vacated with respect to Claim III, regarding suppression of material exculpatory evidence, Claim IV, ineffective assistance of counsel at the guilt stage, Claim V, ineffective assistance of counsel at penalty phase, and Claim VI, relating to juror misconduct with respect to operating a gambling pool on the outcome of trial. This case is remanded to the district court for purposes of conducting an evidentiary hearing on the four claims, as the court initially determined, and for ruling once more on relator's entitlement to post-conviction relief with respect to these claims. In all other respects, the application is denied.
